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                                                                           NORTHERN O(
 6
   Attorneys for Plaintiff
 7 RECORDING INDUSTRY ASSOCIATION OF
   AMERICA, INC.
 8

 9

10                                      UNITED STATES DISTRICT COURT

11                                     NORTHERN DISTRICT OF CALIFORNIA



:: REcoRDING INousrRY A£YIAn! N
     OF AMERICA, INC.,
                                                        8 cas~t~ 0 7 9 MISC
14
                          Plaintiff,                         DECLARATION OF MARK McDEVITT
15
               V.                                            IN SUPPORT OF ISSUANCE OF]
16                                                           SUBPOENA PURSUANT TO 17 U.S.C.
     TWITTER, INC.,                                          §512(h)
17
                          Defendant.
18

19

20   I, Mark McDevitt, the undersigned, declare that:

21             1.         I am a Vice President, Online Anti-Piracy for the Recording Industry Association

22   of America, Inc. (RIAA). The RIAA is a trade association whose member companies create,

23 manufacture or distribute sound recordings. The RIAA is authorized to act on its member

24 companies' behalf on matters involving the infringement of their copyrighted video and sound

25   recordings.

26             2.         The RIAA is requesting the attached proposed subpoena that would order Twitter

27 Inc. to disclose the identity, including name, physical address, e-mail address and IP address, of

28 the user operating at the following website:

     09995. 00 1 4843-7550-7557.1                    1
                                       DECLARATION OF MARK McDEVITT
                                   Case 4:18-mc-80079-DMR Document 1-1 Filed 05/11/18 Page 2 of 2



                           1 https:/ /twitter.com/TheStandom/status/9912287 49663 252480
                           2            3.        The purpose for which this subpoena is sought is to obtain the identity of the

                           3 individual assigned to this domain who has reproduced and has offered for distribution our
                           4 members' copyrighted sound recordings without their authorization. This information will only be
                           5 used for the purposes of protecting the rights granted to our members, the sound        reco~ding

                           6 copyright owner, under Title II ofthe Digital Millennium Copyright Act.
                           7            I declare under penalty of perjury under the laws of the United States of Ame~ica that the

         0
                           8 foregoing is true and correct to the best of my knowledge, information or belief.
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                          10 Executed at Washington, District of Columbia, on May 10, 2018.
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                                                              DECLARATION OF MARK McDEVITT
